                           UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION

                                    DOCKET NO. 3:11cr190-MOC

UNITED STATES OF AMERICA,                              )
                                                       )
                       Plaintiff,                      )
                                                       )       FINAL ORDER OF FORFEITURE
       v.                                              )
                                                       )
(6) DARRYL BROCK,                                      )
                                                       )
                       Defendant.                      )


       On July 30, 2012, this Court entered a Preliminary Order of Forfeiture pursuant to 21

U.S.C. § 853 and Fed. R. Crim. P. 32(d)(2), based upon the Defendant’s plea of guilty to Count

One and Two in the Bill of Information and evidence already on record; and was adjudged guilty

of the offenses charged in those counts.

       On August 1, 2012 through August 30, 2012, the United States published via

www.forfeiture.gov, notice of this forfeiture and of the intent of the government to dispose of the

forfeited property according to law, and further notifying all third parties of their right to petition

the Court within sixty days from August 1, 2012 for a hearing to adjudicate the validity of any

alleged legal interest in the property. It appears from the record that no such petitions have been

filed. Based on the record in this case, including the defendant’s plea of guilty, the Court finds,

in accordance with Rule 32.2(c)(2), that the Defendant had an interest in the property that is

forfeitable under the applicable statute.

       It is therefore ORDERED:

       The government’s Motion for Final Order and Judgment Confirming Forfeiture (#204) is

granted, and in accordance with Rule 32.2(c)(2), the Preliminary Order of Forfeiture is




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confirmed as final. All right, title, and interest in the following property, whether real, personal,

or mixed, has therefore been forfeited to the United States for disposition according to law:

       One 1999 Chevrolet Venture van, VIN 1GNDX03E7XD341765

 Signed: September 30, 2014




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